7:24-cv-03179-TMC   Date Filed 11/13/24   Entry Number 39-1   Page 1 of 20




          EXHIBIT A




                                                                EXHIBIT A
                                                                  PAGE 14
     7:24-cv-03179-TMC          Date Filed 11/13/24        Entry Number 39-1        Page 2 of 20




                                      UPTIME HOSTING LLC
                                      HOSTING AGREEMENT

        This Hosting Agreement (“Agreement”), made as of October 1, 2021 (“Effective Date”), is
 made by and between Uptime Hosting LLC (“Host”), a Florida limited liability company with its
 principal place of business located at 12301 NW 112 Ave Suite 112, Medley, FL 33178 and BEEQB
 LLC (“Client”), a Florida limited liability company with its principal place of business located at 1830
 S Ocean Dr, Hallandale Beach, FL, 33009 (collectively “Parties”; individually “Party”).

                                                Recitals

 WHEREAS, Host primarily engages in the business of cryptocurrency mining and ancillary hosting
 services;

 WHEREAS, Client engages in the business of cryptocurrency mining;

 WHEREAS, Host seeks to provide certain cryptocurrency mining and hosting services to Client in
 exchange for equitable compensation; and

 WHEREAS, Client seeks to utilize certain cryptocurrency mining and hosting services of Host;

 NOW, THEREFORE, in consideration of the premises herein contained, and for other good and
 valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties
 hereto, each intending to be legally bound hereby, agree to the provisions of this Agreement as follows:


                                              Agreement


1.     Host Services.

       1.1.   Services. Client has, or shall promptly, deliver the Digital Asset mining equipment
              listed in Exhibit A attached hereto (the “Client Equipment”) to Host. Host shall
              receive and test the Client Equipment, engage in cryptocurrency mining and
              operation of the Client Equipment, provide rack space allocation for the Client
              Equipment (“Client Space”), installation services, electrical power connection,
              cooling infrastructure, network connectivity, security, and technical support, as
              outlined in this Agreement (collectively, the “Services”), for the Term.

       1.2.   Host Containers. Host may use modified pods designed or procured by Host
              (“Host Container”) for purposes of providing Services for the Client. Host may
              transfer the Client Equipment to Host Containers. In the event Client Equipment
              is delivered earlier than the date on which certain Host Containers may be deemed



                                                                                        EXHIBIT A
                                                                                          PAGE 15
7:24-cv-03179-TMC         Date Filed 11/13/24       Entry Number 39-1          Page 3 of 20




        ready for hosting by the Host, Host may find other facilities to host such Client
        Equipment before the relevant Host Containers are deemed ready for hosting by
        the Host. Notwithstanding any contradictory terms in this Agreement, Host shall
        not be liable for any delays in providing the Host Containers, and the Host
        Containers shall remain the property of Host at all times. Host may move the
        Client Equipment to other properties without the prior written consent of Client
        upon written notice to Client. Nothing in this Subsection shall be construed to
        provide Client any ownership interest in any Host Container(s).

 1.3.   Client Containers. Host may use pods provided by the Client (“Client
        Container”) for purposes of providing Services for the Client; provided, however,
        that all Client Containers must be approved in writing by the Host prior to
        delivery by Client. In the event Client Equipment is delivered earlier than the date
        on which certain Client Containers may be deemed ready for hosting by the Host,
        Host may find other facilities, pods, or containers to host such Client Equipment
        before the relevant Client Containers are deemed ready for hosting by the Host.
        Notwithstanding any contradictory terms in this Agreement, Client shall be solely
        liable for all shipping arrangements for the Client Containers, and the Host
        Containers shall remain the property of Client at all times. Host may move the
        Client Containers, including any Client Equipment, to other properties without the
        prior written consent of Client upon written notice to Client.

 1.4.   Installation and Testing. Upon receipt of Client Equipment, Host shall perform
        commercially reasonable testing in accordance with Host’s equipment testing
        procedures and notify Client of any malfunctioning Client Equipment within
        thirty (30) business days. Host shall install all properly functioning Client
        Equipment in the Client Space within thirty (30) business days of testing such
        Client Equipment. Host shall not be liable for any defects or malfunctions in
        Client Equipment or for failing to identify any hidden defects during installation
        or testing.

 1.5.   Commencement Date. Host shall commence the provision of Services on the
        Commencement Date which shall be either of:

        1.5.1. Thirty (30) calendar days after Host informs Client that Host is
               ready to receive the Client Equipment and receives such Client
               Equipment; or

        1.5.2. A date agreed to by the Parties in writing as stated in Exhibit A;
               provided, however, that Host may extend the agreed-upon
               Commencement Date by up to six (6) calendar months.



                                              2
                                                                                  EXHIBIT A
                                                                                    PAGE 16
7:24-cv-03179-TMC         Date Filed 11/13/24       Entry Number 39-1         Page 4 of 20




         In any event, Host shall provide Client written notice that the provision of
         Services has commenced no later than seven (7) business days following such
         commencement.

 1.6.   Maintenance. Host shall perform such maintenance actions as Host deems
        necessary or desirable with respect to the buildings and facilities owned or leased
        by Host in which the Client Space is located (“Data Center”) and maintain
        Host’s network (“Maintenance”). Client acknowledges and agrees that the
        performance of Maintenance may cause the network to be temporarily
        inaccessible and the Services unavailable to Client. Host shall use commercially
        reasonable efforts to conduct such Maintenance in a manner so as to avoid or
        minimize the unavailability of Services to Client Equipment. If Maintenance is
        planned or expected to interrupt the availability of Services, Host shall provide
        Client notice forty-eight (48) hours prior to conducting such maintenance via
        email, identifying the time and anticipated duration of the Maintenance.
        Notwithstanding the foregoing, Host may conduct emergency Maintenance
        without prior notice to Client; provided, however, that Host shall provide Client
        notice during or after such emergency Maintenance within a reasonable time.
        Host shall take commercially reasonable efforts to ensure that the Maintenance
        frequency shall not exceed three (3) occurrences (excluding emergency
        Maintenance) each calendar month and shall not exceed eight (8) hours per
        occurrence.

 1.7.   Repair Work. Host shall monitor Client Equipment daily and shall, within three
        (3) business days, contact Client if any Client Equipment is not fully operational.
        At Client’s request, Host shall perform diagnostic and repair work (“Repair
        Work”) on such Client Equipment. Host shall be the exclusive or top priority
        provider of Repair Work. Repair Work shall be billed in hourly increments, and
        billable services for such Repair Work shall include all time expended to diagnose
        problems, communicate and receive Client instructions, perform repairs, and
        report results. Repair Work shall be billed at the rate of fifty dollars per hour
        ($50.00/hr), excluding the cost of any materials or equipment supplied or
        purchased by Host; provided, however, that Host shall provide a quote to Client in
        advance and obtain the written consent of Client prior to the commencement of
        any Repair Work. Notwithstanding the foregoing, such quotes provided by Host
        may be subject to change. The response time for Repair Work shall be based upon
        the availability of resources at the time of Client’s request. Subject to the
        aforementioned notification and consent requirement, Client hereby authorizes
        Host to open and modify Client Equipment for Repair Work and acknowledges
        that such requests may void the warranty of the affected Client Equipment. Any
        hardware replacement determined necessary by Host shall be as agreed by the
        Parties prior to making additional purchases.


                                             3
                                                                                 EXHIBIT A
                                                                                   PAGE 17
     7:24-cv-03179-TMC           Date Filed 11/13/24     Entry Number 39-1          Page 5 of 20




      1.8.   Minimum Service Level. Except in the event of Maintenance, Client Equipment
             failure, Repair Work, and force majeure, each month, Host shall provide the
             Services to Client ninety percent (90%) of the time (“Minimum Service Level”).
             In the event Services are not provided at the Minimum Service Level for over
             seventy-two (72) hours, Client shall receive a credit equal and limited to a
             discount in proportion to the monthly rate for the amount of downtime beyond the
             Minimum Service Level (“Service Level Credit”). The Service Level Credit shall
             be applied in equal installments over the Client’s following two (2) calendar
             monthly payments. In the final two (2) calendar months of the term Host shall
             fully refund any Service Level Credit.

      1.9.   Service Failures. Client accepts that Services may not be uninterrupted, error-free,
             or on a completely secure basis. Host shall have no obligation to credit Client any
             amount for any such failure in the event that Host fails to provide Service and
             Host determines in its reasonable judgment that such failure was the result of:

             1.9.1. Force majeure;

             1.9.2. Any actions or inactions of Client, including any activity under
                    Client’s control or within the obligations undertaken by Client
                    (including, without limitation, hacking, provision of inaccurate or
                    corrupt data, use of the Services other than in accordance with the
                    directions of Host, failure or inability of Client to receive Digital
                    Assets, failure of the underlying software protocols of the Digital
                    Asset networks, and problems in Client’s local environment); or

             1.9.3. Maintenance.

2.    Hosting Fee and Deposit.

      2.1.   Hosting Fee. The Hosting Fee shall be based on a price of $0.060 per kilowatt
             and will be billed to Client according to the actual electricity consumption
             generated. The Hosting Fee is an all-inclusive hosting price which covers all the
             hosting costs incurred by Host, including, without limitation, Internet usage fees
             and hosting management.

      2.2.   Deposit. Client shall pay the first and last months’ Hosting Fee within three (3)
             calendar days of the Effective Date. Client shall also render payment for a
             security deposit, calculated as the equivalent of one calendar month’s Hosting
             Fee, within three (3) calendar days of the Effective Date. Host shall return the
             security deposit to Client within thirty (30) calendar days upon termination of the
             Agreement if not used by the Host.

                                                   4
                                                                                       EXHIBIT A
                                                                                         PAGE 18
     7:24-cv-03179-TMC         Date Filed 11/13/24       Entry Number 39-1         Page 6 of 20




3.    Invoices, Rates, and Payment Terms.

      3.1.   Invoice. Host shall provide an invoice to Client stating all applicable Services
             rendered (including associated fees) and for any Repair Work provided under this
             Agreement. Host shall provide each invoice via email no later than five (5)
             business days following the end of each calendar month.

      3.2.   Rates. Host shall invoice Client for all Services on a monthly basis as stated in
             this Agreement or as agreed to by the Parties in writing from time to time.

      3.3.   Rate Changes. Host reserves the right to modify its rates:

             3.3.1. At the end of any Term, provided Host notifies Client at least thirty
                    (30) calendar days in advance of the effective date of such rate
                    change;

             3.3.2. Upon a material and substantiated increase in any of Host’s
                    operating costs, including, without limitation, power rates, facility
                    leasing rates, tax rates, or increased regulatory compliance costs,
                    but not within the first three (3) calendar months of any Term; or

             3.3.3. If there is sustained decrease of greater than fifty percent (50%) in
                    the market rate of BTC following the Commencement Date for
                    more than thirty (30) calendar days, in which event Host may
                    consider lowering its rate.

      3.4.   Payment Term. Client shall render full payment for all invoices within ten (10)
             calendar days of their receipt. The Parties agree that time shall be deemed of the
             essence in the payment of each invoice. If any invoice amount shall be due and
             unpaid on the fifteenth calendar day following such invoice’s applicable deadline
             (subject to a Disputed Invoice), the Host may redirect and utilize the Client
             Equipment for the Host’s benefit until such usage by the host equates to the
             amount owed by Client on the everyday exchange rate of Coinbase.

      3.5.   Payment Currency and Taxes.

             3.5.1. Except for payments made in United States Dollars (or equivalent
                    USDT), Host reserves the right to reject any payment, or require
                    additional payment based on the conversion rate of such payment
                    to United States Dollars (if applicable).


                                                   5
                                                                                       EXHIBIT A
                                                                                         PAGE 19
     7:24-cv-03179-TMC         Date Filed 11/13/24        Entry Number 39-1          Page 7 of 20




             3.5.2. Each Party shall be responsible for the taxes (including, without
                    limitation, sales, use, transfer, privilege, excise, consumption, and
                    other taxes), fees, duties, governmental assessments, impositions
                    and levies that may be imposed or levied on it in connection with
                    this Agreement and/or the provision of Services hereunder under
                    applicable law.

      3.6.   Disputed invoices. In the event Client disputes any Service or other charge listed
             in an invoice, Host must be notified of such dispute in writing within seven (7)
             calendar days of the invoice date, and Client shall render full payment for the
             remaining undisputed portion. Notices of disputes issued by Client more than
             seven (7) calendar days of the invoice date shall be paid in full first. Client waives
             the right to dispute an invoice amount after thirty (30) calendar days following the
             applicable invoice date. Host shall credit any disputed amounts resolved in favor
             of Client to Client’s account, and any disputed amounts resolved in favor of Host
             shall be paid within ten (10) calendar days of such resolution.

      3.7.   Return of Client Mining Equipment. Upon Client’s request, and provided that
             Client is current on all amounts due to Host, Host shall return Client Equipment
             upon termination of the Agreement. Shipping and handling costs for such returns
             shall be paid by Client to Host in advance. Risk of loss during shipping shall be
             borne by Client. At Client’s direction and expense, Host will obtain insurance on
             behalf of Client for return shipping of the Client Equipment.

      3.8.   Client Equipment Storage Fee. In the event this Agreement expires or is
             terminated and Client either maintains a deficiency in payment for Services
             rendered or does not arrange for the Client Equipment's return shipping, and
             Client does not cure such breach within thirty (30) calendar days of the date of
             expiration or termination of the Agreement, Host may assess a reasonable storage
             fee and deny Client access to the Client Equipment until such payment is rendered
             by Client in full.

      3.9.   Client Equipment Forfeiture. In the event Client fails to cure such deficiency
             within ninety (90) calendar days of the date of expiration or termination of the
             Agreement, title over such Client Equipment as is needed to offset the outstanding
             balance of the deficiency shall transfer to Host. In such an event, Client shall have
             three (3) business days to pay the outstanding balance of the deficiency, with
             interest, in which case title to the Client Equipment previously transferred to Host
             shall revert to Client.

4.     Term and Termination.



                                                    6
                                                                                         EXHIBIT A
                                                                                           PAGE 20
     7:24-cv-03179-TMC         Date Filed 11/13/24        Entry Number 39-1          Page 8 of 20




      4.1.   Term. The term of the Agreement shall begin on the Commencement Date and end
             on the date one (1) calendar year following of the Commencement Date
             (“Term”). At the end of the Term, unless either Party issues a written notice of
             non-renewal, this Agreement shall automatically renew for successive one (1)
             calendar year terms.

      4.2.   Termination.

             4.2.1. Termination by Either Party. This Agreement may be terminated
                    by either Party, at any time, without liability to the other Party, for
                    any one or more of the following:

             i.     The non-terminating Party breaches any material term of this
                    Agreement and fails to cure such breach (if susceptible to cure)
                    within thirty (30) calendar days after receipt of written notice of
                    the same;

             ii.    The non-terminating Party becomes the subject of a voluntary or
                    involuntary proceeding relating to insolvency, bankruptcy,
                    receivership, liquidation, or reorganization for the benefit of
                    creditors, and such petition or proceeding is not dismissed within
                    sixty (60) calendar days of the filing thereof; or

             iii.   A court or other government authority having jurisdiction over the
                    Services prohibits Host from furnishing the Services to Client.

             4.2.2. Termination by Host. Host may terminate this Agreement if Client
                    fails to pay any sum for Services when such payment is due (and
                    such failure remains uncured for a period of thirty (30) calendar
                    days).

5.    Representations and Warranties.

      5.1.   Host Representations. Host represents and warrants to Client that:

             1.     Host has full power and authority to enter into this Agreement and
                    perform Host’s obligations hereunder;

             2.     Host’s performance of its obligations hereunder will not violate
                    any applicable laws or require the consent of any third party;




                                                   7
                                                                                         EXHIBIT A
                                                                                           PAGE 21
7:24-cv-03179-TMC       Date Filed 11/13/24        Entry Number 39-1          Page 9 of 20




      3.     The transaction herein meets the requirements of local laws,
             regulations, and industry norms of the jurisdiction of the Data
             Center and/or Client Space, and the content of this transaction with
             the Client is protected by any applicable laws.

      4.     In the event Host provides any Services for Client Containers, Host
             shall be liable for the integrity and security of such Client
             Containers.

 2.   No Other Host Warranties. The Services (including all materials supplied and
      used therewith) are provided “as is,” “where is”, and Client’s use of the Services
      is at Client’s own risk. Host does not make, and hereby disclaims, any and all
      representations and warranties, express or implied, whether in fact or by operation
      of law, statutory or otherwise, including, but not limited to, any representation or
      warranty regarding the price or liquidity of any Digital Asset, either now or in the
      future, warranties of merchantability, habitability, marketability, profitability,
      fitness for a particular purpose, suitability, noninfringement, title, or arising from
      a course of dealing, or trade practice.

 3.   Client Representations. Client represents and warrants to Host that:

      3.1.    Client has full power and authority to enter into this Agreement
              and perform Client’s obligations hereunder;

      3.2.    Client will provide Client’s Bitcoin address to Host in compliance
              with Host’s Bitcoin address procedure. Client will verify that Host
              has correctly installed Client’s Bitcoin address and will
              immediately notify Host if there are any inaccuracies in Client’s
              Bitcoin address;

      3.3.    Client will provide all end-user equipment, software, credentials,
              and/or related equipment that Client deems necessary or desirable
              for Client’s receipt of Digital Assets. Host does not provide, and
              Client shall hold Host harmless from, user or access security with
              respect to any of Client’s Equipment or the Data Center and shall
              be solely liable for user access security and network access to
              Client Equipment. Host will not provide any service to detect or
              identify any security breach of Client Equipment or the Data
              Center. Host will not provide any tests, tools, or techniques
              intended to gain unauthorized access to Client Equipment or
              Client’s personal property;




                                             8
                                                                                  EXHIBIT A
                                                                                    PAGE 22
     7:24-cv-03179-TMC         Date Filed 11/13/24          Entry Number 39-1           Page 10 of 20




             3.4.    Client will at all times comply with the laws, regulations and rules
                     of any applicable governmental or regulatory authority, including,
                     without limitation, Money Service Business regulations under the
                     Financial Crimes Enforcement Network (“FinCen”); state money
                     transmission laws; laws, regulations, and rules of relevant tax
                     authorities; applicable regulations and guidance set forth by
                     FinCEN; the Bank Secrecy Act of 1970; the USA PATRIOT Act of
                     2001; AML/CTF provisions as mandated by U.S. federal law and
                     any other rules and regulations regarding AML/CTF; issuances
                     from the Office of Foreign Assets Control (“OFAC”); the National
                     Futures Association; the Financial Industry Regulatory Authority;
                     and the Commodity Exchange Act;

             3.5.    Client will not use the Services to store or transmit infringing,
                     libelous, or otherwise unlawful or tortious material, or to store or
                     transmit material in violation of third party privacy rights; use the
                     Services to store or transmit Viruses; attempt to gain unauthorized
                     access to any Service or its related systems or networks; permit
                     direct or indirect access to or use of any Service in a way that
                     circumvents a contractual usage limit; copy a Service or any part,
                     feature, function, or user interface thereof except as permitted
                     under this Agreement; or use the Services in relation to any act
                     deemed unlawful. Client will use commercially reasonable efforts
                     to prevent unauthorized access to or unauthorized use of the
                     Services and shall notify Host promptly of any such unauthorized
                     access of use. For purposes of this section, “Viruses” means any
                     malicious data, code, program, or other internal component (e.g.,
                     computer worm, computer time bomb or similar component),
                     which could damage, destroy, alter, or disrupt any computer
                     program, firmware, or hardware, or which could, in any manner,
                     reveal, damage, destroy, alter, or disrupt any data or other
                     information accessed through or processed by the Service in any
                     manner;

             3.6.    Client has clear title, free and clear of all security interests or liens,
                     to Client Equipment, including the legal right to use, operate and
                     locate Client Equipment in the Data Center; and

             3.7.    Client’s performance of its obligations hereunder and receipt of the
                     Digital Assets will not violate any applicable laws or require the
                     consent of any third party.

2.    Limitations of Liability and Indemnification.

                                                      9
                                                                                            EXHIBIT A
                                                                                              PAGE 23
7:24-cv-03179-TMC         Date Filed 11/13/24        Entry Number 39-1          Page 11 of 20




 2.1.   Digital Assets. Host does not own any Digital Assets or associated equipment and
        does not own the underlying software protocols of Digital Asset networks which
        govern the operation of such Digital Assets. Host is not responsible for the
        operation of the underlying protocols and makes no guarantees regarding their
        security, functionality, or availability. In no event shall Host be liable to Client or
        any other entity for any decision made or action taken by Client in reliance on, or
        in connection with the Services. This limitation on liability includes, without
        limitation, any damage or interruptions caused by any computer viruses, spyware,
        scamware, trojan horses, worms, or other malware that may affect Client’s
        computer or other equipment, or any phishing, spoofing, domain typosquatting or
        other attacks (collectively, “Hacking”), or force majeure. If this disclaimer of
        liability section is deemed to conflict with any other section of this Agreement,
        this disclaimer of liability section shall prevail and control to the extent of the
        conflict. For purposes of this Agreement, “Digital Asset” means any digital asset,
        cryptocurrency, virtual currency, digital currency, or digital commodity, including,
        without limitation, Bitcoin and Ether, which is based on the cryptographic
        protocol of a computer network that may be: centralized or decentralized; closed
        or open-source; or used as a medium of exchange and/or store of value.


 2.2.   Information Security. Client understands and agrees that use of
        telecommunications and data communications networks and the Internet may not
        be secure and that connection to and transmission of data and information over
        the Internet and such facilities provides the opportunity for unauthorized access to
        wallets, computer systems, networks, and all data stored therein. Information and
        data transmitted through the Internet or stored on any equipment through which
        Internet information is transmitted may not remain confidential, and Host does not
        make any representation or warranty regarding privacy, security, authenticity, and
        non-corruption or destruction of any such information. Host does not warrant that
        the Services or Client’s use will be uninterrupted, error-free, or secure. Host shall
        not be responsible for any adverse consequence or loss whatsoever to Client’s (or
        its users‟ or subscribers‟) use of the Services or the Internet. Use of any
        information transmitted or obtained by Client from Host is at Client’s own risk.
        Host is not responsible for the accuracy or quality of information obtained
        through its network, including as a result of failure of performance, error,
        omission, interruption, corruption, deletion, defect, delay in operation or
        transmission, computer virus, communication line failure, theft or destruction or
        unauthorized access to, alteration of, or use of information or facilities, or
        malfunctioning of websites. Host does not control the transmission or flow of data
        to or from Host’s network and other portions of the Internet, including the Digital
        Asset networks. Such transmissions and/or flow depend in part on the
        performance of telecommunications and/or Internet services provided or

                                              10
                                                                                     EXHIBIT A
                                                                                       PAGE 24
7:24-cv-03179-TMC         Date Filed 11/13/24        Entry Number 39-1          Page 12 of 20




        controlled by third parties. At times, actions or inactions of such third parties may
        impair or disrupt Host or Client’s connections to the Services. Host does not
        represent or warrant that such events will not occur, and Host disclaims any and
        all liability resulting from or related to such acts or omissions. If Host suspects
        any security violations have occurred related to Client’s account or Digital Assets,
        Host may suspend access to Client’s account and hardware pending resolution.

 2.3.   Consequential Damages. In no event will either Party be liable to the other for
        any type of incidental, special, exemplary, punitive, indirect or consequential
        damages, including, but not limited to, lost revenue, lost profits, replacement
        goods, loss of technology, rights or services, loss of data, or interruption or loss of
        use of service or equipment, even if such Party was advised of the possibility of
        such damages, and whether arising under theory of contract, tort, strict liability or
        otherwise.

 2.4.   Damage to Client Equipment. Host shall not be responsible for any cosmetic
        damage or operation deficiency from Client Equipment, or Client Containers, not
        due to Host’s intentional acts or omissions, and Host shall not repair or reimburse
        the Client for any such damage without Host’s prior written consent.

 6.5    Legal Processes. Host and its affiliates, service providers, and their respective
        officers, directors, agents, joint venturers, employees, and representatives may
        comply with any writ of attachment, execution, garnishment, tax levy, restraining
        order, subpoena, warrant or other legal process, which Host reasonably and in
        good faith believes to be valid. Host may notify Client of such process by
        electronic communication unless specifically ordered not to effect such notice.
        Host may charge Client for associated costs, in addition to any legal process fees.
        Client agrees to indemnify, defend, and hold Host harmless from all actions,
        claims, liabilities, losses, costs, attorney’s fees, or damages associated with Host’s
        compliance with any process that Host reasonably believes in good faith to be
        valid.

 6.     Host Indemnification. In addition to any other applicable rights under this
        Agreement, Client agrees to indemnify, defend and hold harmless Host and its
        officers, managers, partners, members, agents, employees, affiliates, attorneys,
        heirs, successors and assigns (collectively “Host Parties”) from any and all
        claims, demands, actions, suits, proceedings, and all damages, judgments,
        liabilities, losses, and expenses, including, but not limited to, reasonable
        attorneys‟ fees (“Losses”), arising from or relating to (a) any legal, regulatory or
        governmental action against or including Client, (b) the maintenance or operation
        of Client’s Equipment, (c) any Loss by any of Client, its officers, managers,
        partners, members, agents, employees, affiliates, attorneys, heirs, successors or
        assigns (collectively “Client Parties”), (d) any claim by an affiliate of the Client

                                              11
                                                                                     EXHIBIT A
                                                                                       PAGE 25
     7:24-cv-03179-TMC         Date Filed 11/13/24        Entry Number 39-1          Page 13 of 20




             Parties, including a customer, relating to, or arising out of, this Agreement or the
             Services (including claims arising from or relating to interruptions, suspensions,
             failures, defects, delays, impairments or inadequacies in any of the
             aforementioned Services), (e) any breach or nonperformance by Client Parties of
             any provision or covenant contained in this Agreement or the Services, or (f) any
             claim related to Hacking.

      7.     Client Indemnification. The Host shall indemnify, defend and hold harmless the
             Client and its respective Affiliates, officers, directors, employees, agents,
             successors and assigns from and against any and all Indemnifiable Losses
             resulting from or arising out of: (a) any inaccuracy in or breach or non-
             performance of any of the Host's representations and warranties, or other
             covenants or agreements in this Agreement or any other transaction document by
             the Host, (b) the failure of the Host to perform or observe fully any covenant,
             agreement or other provision to be performed or observed by it pursuant to this
             agreement or any other transaction document, or (c) any other matters, things or
             events which give rise to any Indemnified Party suffering or incurring
             Indemnifiable Losses with respect to its or its Affiliates’ investments in the Client.
             If and to the extent that such indemnification is unenforceable for any reason, the
             Host will make the maximum contribution to the payment and satisfaction of such
             indemnified liabilities permissible under applicable Law.

2.    Confidentiality.

      1.     Disclosure and Use. Each Party agrees that it will not use in any way, nor disclose
             to any third party, the other Party’s Confidential Information, and will take
             reasonable precautions to protect the confidentiality of such information, as
             stringently as it takes to protect its own Confidential Information, but in no case
             will the degree of care be less than reasonable care. Nothing herein shall preclude
             disclosure by a Party to that Party’s attorneys, accountants and employees who
             have a bona fide need to know the other Party’s Confidential Information in
             connection with the receiving Party’s performance under this Agreement. Each
             Party agrees to only make copies of the other’s Confidential Information for
             purposes consistent with this Agreement, and each Party shall maintain on any
             such copies a proprietary legend or notice as contained on the original or as the
             disclosing Party may request. For purposes of this Section 9.1, “Confidential
             Information” means information which:

             1.1.    Derives actual or potential economic value from not being
                     generally known to, and not available through proper means, by
                     other persons who could obtain economic value from receipt or use
                     of such information;


                                                   12
                                                                                         EXHIBIT A
                                                                                           PAGE 26
     7:24-cv-03179-TMC        Date Filed 11/13/24        Entry Number 39-1         Page 14 of 20




             1.2.   Is the subject of reasonable efforts by its owner to maintain its
                    confidentiality or secrecy; or

             1.3.   Is by its nature confidential, trade secrets or otherwise proprietary to its
                    owner.

             Confidential information includes the terms and conditions of this Agreement, software
             source and object code, inventions, know-how, data, formulas, patterns, compilations,
             programs, devices, methods, techniques, drawings, configurations, plans, processes,
             financial and business plans, names of actual or potential clients or suppliers, Data
             Center configuration, and proprietary technology developed or created by Host,
             including Host’s operations, design, content, hardware designs, algorithms, software (in
             source and object forms), user interface designs, architecture, class libraries, and
             documentation (both printed and electronic), know-how, trade secrets and any related
             intellectual property rights throughout the world, and any derivative works,
             improvements, enhancements or extensions thereof.

      2.     Exclusions from Confidentiality Obligations. Notwithstanding the confidentiality
             obligations required herein, neither Party’s confidentiality obligations hereunder
             shall apply to information which:

             2.1.   Is already known to the receiving Party (other than the terms of
                    this Agreement); or

             2.2.   Is required to be disclosed by Law, provided, however, if either
                    Party is at any time requested or required to disclose any
                    information supplied to it in connection with this Agreement, the
                    Party agrees to provide the other Party with prompt notice of such
                    request.

2.    Miscellaneous Provisions.

      2.1.   Amendment. No provision of the Agreement may be amended, superseded, or
             otherwise modified unless the amendment or modification is agreed to in writing
             and signed by the Parties.

      2.2.   Relocation of Client Equipment or Client Space. If it is necessary or desirable for
             Host’s efficient use of the Data Center to relocate the Client Equipment or Client
             Space to another area of the Data Center, the Parties shall cooperate in good faith
             to facilitate such relocation. Host shall be solely liable for the costs incurred in
             connection with any such relocation. Client shall be solely liable for costs


                                                  13
                                                                                       EXHIBIT A
                                                                                         PAGE 27
7:24-cv-03179-TMC        Date Filed 11/13/24        Entry Number 39-1          Page 15 of 20




        incurred in connection with relocation made by Host at the request of Client. Host
        shall use commercially reasonable efforts to minimize and avoid any interruption
        in Services during such relocation.

 2.3.   Force Majeure. In no event shall Host be responsible or liable for any failure or
        delay in the performance of its obligations arising out of the Agreement caused
        by, directly or indirectly, forces beyond its control, including, without limitation,
        strikes, work stoppages, accidents, acts of war or terrorism, civil or military
        disturbances, nuclear or natural catastrophes or acts of God, epidemics,
        pandemics and related health disasters, and interruptions, loss, local, state, or
        national government acts, delays or conflicts with shippers, or malfunctions of
        utilities, communications, or computer (software and hardware) services.

 2.4.   Notice. All notices, requests, consents, claims, demands, waivers, and other
        communications hereunder shall be in writing and addressed to either Party as set
        forth in this Section. All notices shall be delivered by internationally recognized
        overnight courier (with all fees prepaid) or electronic mail if adequate
        confirmation of receipt is provided. Except as otherwise provided in this Master
        Agreement, a notice is effective only if (i) the receiving Party has received the
        notice and (ii) the Party giving the notice has complied with the requirements of
        this Section. Notice is deemed received: in the case of internationally recognized
        overnight courier, the date and time the courier confirms delivery; or in the case
        of electronic mail, the date and time the recipient’s server receives the electronic
        mail. Such communications must be sent to the respective parties at the following
        addresses (or at such other address for a party as shall be specified in a notice
        given in accordance with this Section):




        BIT5IVE LLC:                      1201 NW 112 Ave Suite 112
                                          MEDLEY, FL
                                          Email: andrea@bit5ive.com /
                                          robert@bit5ive.com
                                          Attention: Andrea Siles / Robert
                                          Collazo


        BEEQB LLC:                        212 NW 4th Ave
                                          Hallandale Beach, FL 33009
                                          Email: radmir.zaripov@gmail.com
                                          Attention: Radmir Zaripov



                                             14
                                                                                   EXHIBIT A
                                                                                     PAGE 28
7:24-cv-03179-TMC         Date Filed 11/13/24        Entry Number 39-1          Page 16 of 20




 2.5.   Non-Circumvention. Client agrees not to contact persons or entities introduced by
        Host without the prior written consent of Host. Furthermore, Client agrees that
        Client shall not utilize confidential information nor consummate any transaction,
        for fees or otherwise, with any entity (including such entity's affiliates and related
        entities) introduced by Host without providing compensation to Host in an
        amount deemed acceptable to Host at Host‘s sole discretion. The provisions of
        this Subsection shall apply during the term of this Agreement and for two (2)
        calendar years thereafter.

 2.6.   Non-Solicitation. During the term of this Agreement, and for two (2) calendar
        years thereafter, Client shall not induce any employee or contractor of Host to
        leave Host’s employ or contractual relationship or hire any such employee or
        contractor without Host’s prior written consent. Notwithstanding, an employee or
        contractor shall not be deemed to have been solicited or as a result hired for
        employment or contract solely as a result of a general public advertisement or
        other such general solicitation of employment.

 2.7.   Non-Disparagement. Each Party agrees to take no action which is intended, or
        would reasonably be expected, to harm the other Party or its reputation or which
        would reasonably be expected to lead to unwanted or unfavorable publicity to the
        other Party. Such actions include, without limitation, disparaging remarks,
        comments or statements that impugn the character, honesty, integrity, morality or
        business acumen or abilities in connection with any aspect of the operation of the
        other Party.

        The provisions of this Section do not extend to statements made by either Party
        when compelled by an authority of law; provided, however, that the Party making
        such statement informs the other Party (unless explicitly ordered not to do so by
        such legal authority).

 2.8.   Assignment. Neither the Agreement nor any of the rights, interests, or obligations
        hereunder may be assigned by either Party (whether by operation of law or
        otherwise) without the prior written consent of the non-assigning Party. Subject to
        the preceding sentence, Host may assign the Agreement to its affiliates, parent,
        subsidiaries, or successors-in-interest without Client’s consent via written notice
        to Client. Subject to the foregoing, the Agreement shall be binding upon and inure
        to the benefit of and be enforceable by the Parties and their respective successors
        and assigns.

 2.9.   Entire Agreement. Unless specifically provided herein, this Agreement contains
        all of the understandings and representations between the Parties relating to the

                                              15
                                                                                    EXHIBIT A
                                                                                      PAGE 29
7:24-cv-03179-TMC         Date Filed 11/13/24        Entry Number 39-1          Page 17 of 20




         subject matter hereof and supersede all prior and contemporaneous
         understandings, discussions, agreements, representations, and warranties, both
         written and oral, regarding such subject matter.

 2.10.   Severability. If any term or provision of the Agreement is held invalid, illegal, or
         unenforceable in any jurisdiction, such invalidity, illegality, or unenforceability
         shall not affect any other term or provision of the Agreement or invalidate or
         render unenforceable such term or provision in any other jurisdiction.

 2.11.   Waiver. No waiver by either Party of any breach by the other Party of any term or
         provision of the Agreement to be performed by the other Party shall be deemed a
         waiver of any similar or dissimilar term or provision at the same or any prior or
         subsequent time, nor shall the failure of or delay by either Party in exercising any
         right, power, or privilege under the Agreement operate as a waiver thereof to
         preclude any other or further exercise thereof or the exercise of any other such
         right, power, or privilege.

 2.12.   Third Party Beneficiaries. There shall be no third-party beneficiaries to this
         Agreement.

 2.13.   Governing Law. The Agreement and all related documents including all exhibits
         attached hereto, and all matters arising out of or relating to this Agreement,
         whether sounding in contract, tort, statute, or otherwise, are governed by, and
         construed in accordance with the laws of the State of Florida (including its
         statutes of limitations and choice of law statutes), without giving effect to the
         conflict of laws provisions thereof to the extent such principles or rules would
         require or permit the application of the laws of any jurisdiction other than those of
         the State of Florida.

 2.14.   Alternative Dispute Resolution. Unless the Parties agree otherwise in writing, in
         the event a dispute arises from, or related to, the terms or performance of the
         Agreement, the Parties shall engage in direct negotiation.

          In the event such negotiations fail to amicably resolve any remaining dispute(s), the
          Parties shall proceed to binding arbitration before a single arbitrator of the American
          Arbitration Association (“AAA”). In the event the Parties fail to agree on the identity of
          the arbitrator, the arbitrator shall be assigned to the Parties by the AAA.

          Any arbitration shall be conducted in accordance with the AAA’s Commercial
          Arbitration Rules and Mediation Procedures.




                                              16
                                                                                    EXHIBIT A
                                                                                      PAGE 30
7:24-cv-03179-TMC         Date Filed 11/13/24        Entry Number 39-1         Page 18 of 20




          Unless otherwise agreed to by the Parties in writing, the seat of arbitration shall be
          Miami, Florida.

          The Parties shall bear their own dispute-related expenses.

 2.15.   Jury Trial Waiver. To the full extent permitted by law, the Parties hereby expressly
         waive any and all right to a trial by jury on the issue to enforce any term or
         condition of the Agreement.

 2.16.   Class Action Waiver. Any proceedings to resolve or litigate any dispute arising
         from the provisions of this Agreement will be conducted solely on an individual
         basis. Neither Party will seek to have any dispute heard as a class action, private
         attorney general action, or in any other proceeding in which either party acts or
         proposes to act in a representative capacity.

 2.17.   Construction. The recitals and preamble are incorporated herein as if set forth at
         length.

 2.18.   Counterparts. The Parties may execute this Agreement in multiple counterparts,
         each of which shall be deemed an original, and all of which taken together shall
         constitute one and the same instrument. Delivery of an executed counterpart of
         this Agreement via facsimile, electronic mail in portable document format (.pdf),
         or by any other electronic means shall have the same effect as delivery of an
         executed original of this Agreement.



                                  [Signature Page Follows]




                                              17
                                                                                   EXHIBIT A
                                                                                     PAGE 31
7:24-cv-03179-TMC             Date Filed 11/13/24   Entry Number 39-1      Page 19 of 20




IN WIТNESS WHEREOF, the Parties have executed this Hosting Agreement as ofEffective Date.

The Company: UPТIME HOSTING LLC



Ву:-----------­
     Robert Colazzo
       Print Name



                Signature

             Founder and
                Title
                 CEO



The Buyer: BEEQB LLC



Ву: --.!L2�hs' e_e_v_l½_A-'--
            =---..c            K/_°М'---_
                    P1·int Name




                                               18




                                                                             EXHIBIT A
                                                                               PAGE 32
     7:24-cv-03179-TMC         Date Filed 11/13/24       Entry Number 39-1   Page 20 of 20




                                           EXHIBIT A
                                     CLIENT EQUIPMENT



The following items shall constitute Client Equipment:



QTY               Description
1400              ASIC S19 Bitmain Antminer, 100 th/s



The Commencement Date shall be April 2022.




                                                  19
                                                                                EXHIBIT A
                                                                                  PAGE 33
